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EXHIBIT D
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, et al.

      Plaintiffs,
                                               CIVIL ACTION
      v.
                                               FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

      Defendants.


                       DECLARATION OF JACK COBB

      Pursuant to 28 U.S.C. § 1746, I, JACK COBB, make the following

declaration:

                                      1.

      1.       My name is Jack Cobb. I am over the age of 21 years, and I am

under no legal disability which would prevent me from giving this

declaration. If called to testify, I would testify under oath to these facts.

      2.       I am currently the Laboratory Director for Pro V&V, Inc. I have

held that position for nine years. I have over sixteen years of experience with

voting machine system testing.

      3.       Pro V&V, Inc. is a National Institute of Standards and

Technology (NIST) Accredited Voting Systems Test Laboratory (VSTL) and a


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United States Election Assistance Commission (EAC) Accredited Voting

Systems Test Laboratory (VSTL). Pro V&V has maintained these

accreditations since 2015. Pro V&V is audited every two years by both

accrediting bodies. The requirements to obtain these accreditations are ISO

17025 and the NIST handbook 150 for the NIST accreditation. The

requirements for the EAC accreditation are the EAC Test and Certification

Manual and the EAC Program Manual.

      4.    As a VSTL, Pro V&V tests electronic voting systems to the

Voluntary Voting Systems Guidelines (VVSG). These published requirements

cover the area of Functional Requirements, Usability and Accessibility,

Hardware, Software, Telecommunications, Accuracy, Reliability,

Maintainability, and Security. The ability of a voting system to accurately

cast, record, store and tabulate voted ballots is tested throughout a test

campaign. Testing is performed independently under the VSTL guidance

without participation of the voting systems manufacturer. During the EAC

test campaigns, a limited Penetration Test is performed for access controls,

physical security and vulnerability exploitation. This testing is performed

under the oversight of the EAC test and certification program.

      5.    Georgia certified the Dominion Voting’s Democracy Suite 5.5-A in

August 2019. Pro V&V did not test this specific version of the voting system

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for the EAC, but did test the baseline system (D-Suite 5.5). The only

difference in these two systems was the addition of a Federal Information

Processing Standard (FIPS) 140-2 certified cryptographic module. All testing

for the EAC was performed by SLI Compliance. In addition to the EAC test

campaign, SLI Compliance subjected the voting system to “Pennsylvania

Department of State Attachment E to the Directive for Electronic Voting

Systems PA Voting System Security Standard”. The security test standard

specifically addresses confidentiality, vote anonymity, integrity availability

and auditability. These standards also include guidelines for Penetration

Testing. The purpose of this type of testing is, “The focus of penetration

testing is to seek out and exploit vulnerabilities in the voting system that

might be used to change the outcome of an election, interfere with voters’

ability to cast ballots and have their votes counted accurately, or compromise

the secrecy of vote.” The results of this testing can be found at

“https://www.votespa.com/About-Elections/Pages/Dominion-Democracy-Suite-

55A.aspx”.

      6.     Georgia selected Pro V&V to conduct additional testing for

Georgia-specific election criteria. This included the Dominion Voting

Democracy Suite 5.5-A as well as the KNOWink electronic poll book (EPB)

versions 2.4.4, 2.4.7 and 2.5.0. This testing was designed and agreed to by Pro

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V&V and the Secretary of State’s Office. The testing was designed not to

retest all the testing performed in the two EAC program and the additional

testing of the Commonwealth of Pennsylvania, but to ensure the voting

system can exercise the types of elections run in the State of Georgia. This

testing also included an accuracy test. Pro V&V also verified the contents of

the QR code which includes a digital signature and is encrypted. By digitally

signing each QR code the system knows what the content of each QR code

should be and will reject any ballot where the digital signatures do not

match. The results of this testing can be found in the Pro V&V report

“Dominion Voting System D-Suite 5.5-A Voting System Georgia State

Certification Testing dated August 7, 2019”.

      7.    In the case Donna Curling, ET AL. versus Brad Raffernsperger,

ET, AL., the Plaintiffs assert claims that are simply not true. I have reviewed

the Declaration of Alex Halderman, which claims that the voting systems

software can be altered in a way that cannot be detected. The voting system

actually has a built-in feature that will generate a SHA-256 hash value at

any point before and during voting to allow for easy checks to determine if it

matches with Georgia’s version. By selecting the ICX icon in the upper left-

hand corner of the welcome screen, or while actively in a voting session, a

SHA-256 hash of the software is generated and is displayed in a gray area at

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the back of a pop-up box. This feature can be seen in the following

photographs:




                 Photograph 1: Icon to generate hash value.




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                     Photograph 2: Viewable Hash Value


      8.     With our assistance, Georgia performed acceptance testing of

each BMD using a hash value. This ensured that the BMD had not been

altered and had the correct software installed at the time it was accepted by

the State.

      9.     Dr. Halderman’s claims are based on general computing

principles, but he clearly does not understand the specific setup and nature of

the Dominion system or its security features.

      10.    For example, the declaration also stated that “Attackers could


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potentially infect Georgia’s BMDs with malware in several ways, including

spreading it from the election management system (EMS).” In this system,

the election files, including the QR codes, are digitally signed and encrypted.

The BMD first checks the digital signatures of the tech worker and

pollworker access cards against the digital signature on the system. If there

is not a match, decryption fails and nothing is loaded on the machine.

      11.     If a QR code was somehow manipulated on the BMD (which I

have never seen occur in any context using the Dominion system), the digital

signature would also be altered and it would not be accepted by the scanner.

      12.     Another erroneous claim in Dr. Halderman’s declaration that

focuses on paper ballots is “Hand-marked paper ballots are already used in

Georgia for absentee voting, and so they are prepared and printed for every

ballot style in every election. “ While part of this claim is true, Georgia does

not have hand-marked paper ballots in sufficient quantity to run the entire

state on these types of ballots. One issue with obtaining more paper ballots is

there are only a handful of certified printers in the United States and with

the increase of mail in balloting across the United States the printers are

backlogged.




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      I declare under penalty of perjury under the laws of the United States

of America that the foregoing is true and correct. Executed this 25 day of

August, 2020.


                                           ________________________
                                           JACK COBB




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